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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:05CR180
                              )
          v.                  )
                              )
ANGEL RAMON SANDOVAL,         )                      ORDER
                              )
               Defendant.     )
______________________________)


          The Court has been advised defendant wishes to enter a

plea in this matter.     Accordingly,

          IT IS ORDERED that the Rule 11 hearing is scheduled

for:

                Thursday, September 8, 2005, at 8:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 30th day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
